
PER CURIAM.
The petition for belated appeal is granted. Petitioner shall be allowed a belated appeal from the judgment and sentence rendered on August 24, 2004, in Gadsden County Circuit Court case number 02-746-CFA. Upon issuance of mandate in this cause, a copy of this opinion shall be provided to the clerk of the circuit court for treatment as the notice of appeal. Fla. R.App. P. 9.141(c)(5)(D). If petitioner qualifies for appointed counsel and counsel has not yet been appointed, the trial court shall appoint counsel to represent petitioner on appeal.
PETITION GRANTED.
WOLF, C.J., VAN NORTWICK and THOMAS, JJ., concur.
